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UNITED STATES DISTRICT COURT S; Sy &&
NORTHERN DISTRICT OF ILLINOIS yO,
EASTERN DIVISION Meh, OS £)
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ARMELIA BAILEY, } ee
)
Plaintiff, ) Case No. 02-C-8957
)
Vv. ) Hon. Joan Humphrey Le
)
CARMAX, INC., )
)
Defendant. } " 0
NOTICE OF MOTION HOcKeTe 5
jan 3 0 209
TO: Daniel J. Kucera
Chapman & Cutler
111 West Monroe Street
Suite 1600

Chicago, Illinois 60603

PLEASE TAKE NOTICE that on Tuesday, January 28, 2003, at 9:30 am., or as soon
thereafter as counsel may be heard, the undersigned will appear before the Hon. Joan Humphrey
Lefkow or any judge sitting in her stead, and then and there present the attached Motion to Dismiss
and Compel Arbitration, a copy of which is hereby attached and served upon you.

Dated: January 15, 2003

Respectfully submitted,

CARMA, INC.

By: Aric R, Conc

One of the Attorneys for Defendant

Jeffrey S. Goldman

Brian R. Carnie

WILDMAN, HARROLD, ALLEN & DIXON
225 West Wacker Drive

Chicago, Illinois 60606-1229

(312) 201-2000
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CERTIFICATE OF SERVICE
The undersigned attorney hereby certifies that true and correct copies of the foregoing
Notice of Motion and Motion to Dismiss and Compel Arbitration have been served this 15" day

of January, 2003, via U.S. first-class mail, postage prepaid to:

Daniel J. Kucera
Chapman & Cutler

111 West Monroe Street
Suite 1600

Chicago, Iinois 60603

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Brian R. Carnie
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UNITED STATES DISTRICT COURT 4
NORTHERN DISTRICT OF ILLINOIS % g
EASTERN DIVISION “pM, &
"tea “8,
ARMELIA BAILEY, ) EX, Y,
) “Gp,
Plaintiff, ) Case No. 02-C-8957 Yeti
G8
v. Hon. Joan Humphrey Lefkow “B»,
CARMAX, INC., )
)
Defendant. )

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DEFENDANT’S MOTION TO DISMISS AND COMPEL ARBITRAT{ONS 0 2003

Defendant CarMax, Inc. (“CarMax”), by its attorneys, pursuant to 9 U.S.C. §§ 1-16 and
Rule 12(b)(1) of the Federal Rules of Civil Procedure, moves for entry of an order dismissing the
Complaint of Employment Discrimination filed by Plaintiff, and compelling Plaintiff to arbitrate

her claims against CarMax. In support hereof, CarMax states as follows:

1. On December 11, 2002, Plaintiff filed a pro se' Complaint for Employment
Discrimination (“Complaint”) against CarMax. In her Complaint, Plaintiff alleges (1) color
discrimination under Title VII of the Civil Rights Act of 1964 and 42 U.S.C. § 1981; and (2) race

discrimination under Title VII of the Civil Rights Act of 1964 and 42 U.S.C. § 1981.

2. On July 18, 2000, as part of her efforts to obtain employment with CarMax,
Plaintiff executed the CarMax Dispute Resolution Agreement, a true copy of which is attached
as Exhibit A to the Declaration of Michelle M. Halasz.” The Dispute Resolution Agreement

establishes and sets forth Plaintiff’s and CarMax’s agreement to arbitrate certain disputes. Jd. A

 

' Although Plaintiff originally filed this matter pro se, Plaintiff has since been appointed counsel by the Court.
? The Declaration of Michelle M. Halasz, Associate General Counsel for CarMax, is attached hereto.

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true and correct copy of CarMax’s Dispute Resolution Rules and Procedures, which are
incorporated into the Dispute Resolution Agreement, are attached as Exhibit B to the Declaration

of Michelle Halasz.

3. The Dispute Resolution Agreement includes provisions requiring final and
binding arbitration of:
“any and all previously unasserted claims, disputes, or controversies arising out or

relating to [Plaintiff's] application or candidacy for employment, employment
and/or cessation of employment with CarMax,” and,

“[bly way of example only, such claims include claims under federal, state and
local statutory or common law, such as the Age Discrimination in Employment
Act, Title VII of the Civil Rights Act of 1964, as amended, including the
amendments of the Civil Rights Act of 1991, the Americans with Disabilities Act,
the Family Medical Leave Act, the law of contract and law of tort.”

(Ex. A at 2). Plaintiff further agreed in writing that “if { do file a lawsuit regarding a dispute
arising out of or relating to my application or candidacy for employment, employment or
cessation of employment, CarMax may use this Agreement in support of its request to the

court to dismiss the lawsuit and require me instead to use arbitration.” Id. (emphasis added).

4, The CarMax Dispute Resolution Agreement states that the arbitration proceedings
are to be governed by CarMax’s Dispute Resolution Rules and Procedures, Exhibit B to the

Declaration of Michelle M. Halasz.

5. When Plaintiff executed the Dispute Resolution Agreement, she acknowledged
receipt of a copy of the “Dispute Resolution Rules and Procedures” describing in detail the
arbitration program and the scope of disputes subject to arbitration. (“Included with this
application is the CarMax Dispute Resolution Rules and Procedures. You should familiarize

yourself with these rules and procedures prior to signing the Agreement. If the Rules and

 

 
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Procedures are not included in this booklet you must request a copy from a CarMax

representative prior to signing the Agreement.”). See Exhibit A, p. 2.

6. Participation in the Dispute Resolution Agreement was voluntary, as Plaintiff was
given three days within which to withdraw her consent to arbitration, and her application for
employment, and thus avoid being bound by the arbitration program. See Exhibit A, p. 2.
Plaintiff did not withdraw her consent to arbitration or withdraw her application for employment.

See Declaration of Michelle M. Halasz.

7. CarMax terminated Plaintiffs employment on June 7, 2001. Complaint 4 13.
Shortly thereafter, Plaintiff filed a charge of discrimination against CarMax with the U.S. Equal
Employment Opportunity Commission (“EEOC”). Complaint 7; Charge of Discrimination

(attached to Complaint).

8. Plaintiff received a Dismissal and Notice of Rights letter (“Dismissal”) from the
EEOC concerning her charge on September 25, 2002. Complaint 4 8; Dismissal and Notice of

Rights (attached to Complaint).

9, Rather than submitting her claims to arbitration, as required under the Dispute

Resolution Agreement, Plaintiff filed the instant lawsuit.

10. The claims and issues set forth in the Complaint are covered under and are subject
to arbitration under the Dispute Resolution Agreement, and as such, the Dispute Resolution
Agreement mandates that the claims and/or issues set forth in the Complaint be submitted to

arbitration.

 

 
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11. The Federal Arbitration Act, 9 U.S.C. § 1, ef seq., “compels judicial enforcement
of a wide range of written arbitration agreements,” including the Agreement between Plaintiff
and CarMax. Circuit City Stores, Inc. v. Adams, 532 U.S. 105, 111, 121 §$.Ct. 1302, 1307

(2001).

12. The United States Supreme Court has made it clear that the liberal federal policy
favoring arbitration is applicable to agreements entered into between employers and applicants or
employees. Circuit City Stores, Inc. v. Adams, 532 U.S. at 123, 121 S.Ct. at 1313 (2001); Gilmer

v. Interstate/Johnson Lane Corp., 500 U.S. 20 (1991).

13. This Court should compel the parties to arbitrate their dispute. Plaintiff
voluntarily agreed to be bound to the arbitration component of her employment application and
she did not withdraw her consent to this promise when provided with the opportunity to do so.
Thus, Plaintiff agreed to proceed to arbitration with employment-related claims, rather than

pursue a lawsuit regarding such matters.

14. + Because all of Plaintiffs claims against CarMax are clearly within the scope of
CarMax’s Dispute Resolution Agreement, the Court should dismiss the Complaint and compel
arbitration. See e.g., Medina v. Hispanic Broadcasting Corp., 2002 U.S. Dist. LEXIS 4059
(N.D. Ill March 12, 2002) (granting employer’s motion to dismiss the complaint and compel
arbitration, holding that “an action may be dismissed when all the claims within it are subject to
arbitration...staying the action would serve no purpose.”); Stewart v. Molded Plastic's Research
of fil, Inc., 2001 U.S. Dist. LEXIS 20985 (N.D. II. Dec. 14, 2001) (granting employer’s motion
to dismiss the complaint and compel arbitration because the employee agreed to arbitrate his

claims); Whitney v. Peregrine Sys., 2001 U.S. Dist. LEXIS 19288 (N.D. Ill. Nov. 13, 2001)
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(“When ail of the issues raised in the complaint are subject to arbitration, it is proper for the

court to simply dismiss the case”),

WHEREFORE, CarMax respectfully requests that the Court dismiss Plaintiff's
Complaint for Employment Discrimination in its entirety, and enter an order compelling Plaintiff —

to arbitrate her claims.

Dated: January 15, 2003
Respectfully submitted,

 

CARMAX, INC.
By Tw R i Cnc.
One of its Attorneys

Jeffrey S. Goldman

Brian R. Carnie

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Chicago, Illinois 60606

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